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                                                U.S. Department of Justice
                                                                                           Page 3
                                                      United States Attorney
My und                                                Southern District of New York
                                                     26 Federal Plaza, 37th Floor
                                                     New York, New York 10278


                                                      March 3, 2025
BY ECF
The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24 Cr. 542 (AS)

Dear Judge Subramanian:

         Pursuant to the Court’s Individual Rules, the Government respectfully requests permission
to file its opposition to defendant Sean Combs’ motion to suppress at Dkt. No. 160, which is due
March 4, 2025, as an oversized brief exceeding 25 pages. Because the Government plans to
respond to arguments made by the defense with respect to lengthy search warrants, the
Government estimates that its brief will be approximately 35 pages. The Government does not,
however, intend to file an oversized brief for its opposition to the defendant’s motion to dismiss
count three of the Superseding Indictment, at Dkt. No. 152, which is due that same date. The
Government conferred with defense counsel, who consents to the request.


                                               Respectfully submitted,

                                               DAMIAN WILLIAMS
                                               United States Attorney

                                         By:      /s
                                               Meredith Foster
                                               Emily A. Johnson
                                               Christy Slavik
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